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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


                                                                             15-cr-379 (PKC)
                -against-

                                                                             ORDER
JUAN ORLANDO HERNANDEZ, et al.

                                  Defendants.
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CASTEL, U.S.D.J.

                The Court has received the January 10, 2024 letter (ECF 658) from retained

counsel for defendant Juan Orlando Hernandez seeking a 30-45-day adjournment of the February

5, 2024 trial for “two (2) concurrent and serious pre-existing medical conditions” that are not

specified in the letter. He claims he has been receiving medical care for these conditions “for

more than twenty-four (24) months” and it has impaired his ability to review voluminous and

continuing discovery.

                Defense counsel’s letter annexes a letter from the defendant in which he seeks a

seven-week adjournment of trial and new counsel appointed by the Court. He states that “[f]rom

the beginning of this case, I have not had enough money to pay for a sufficient legal defense for

this trial, considering the complexity and the terabytes of material.” He states that his counsel

has not been able to review documents due to “COVID and other requirements on his time” and

that the government continues to make documents available. Notably, the defendant’s letter was

sent before counsel’s letter and bears two dates January 6 and January 9, 2024.

                Retained defense counsel Raymond L. Colon, first appeared for defendant on

April 21, 2022, a year and eight months before the latest adjournment application. Thus, his

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unspecified medical conditions, by his account, had been known and under treatment at the time

he entered an appearance. A second retained lawyer with a security clearance, Sabrina Shroff,

entered an appearance on January 8, 2023 (ECF 506). Daniel Perez, a lawyer, has appeared with

Mr. Colon as counsel for defendant. (ECF 432 Tr. at 1-2.) Mr. Colon is assisted by paralegals.

(Id. at 8.) The Court also appointed Emma M. Greenwood as Coordinating Discovery Attorney

for the three defendants, including Mr. Colon’s client (ECF 544.)

               On May 10, 2022, the Court tentatively scheduled the trial for January 17, 2023.

(ECF 432 at 13.) On September 19, 2022 at the joint request of the parties, including the volume

of discovery and the need to invoke procedures under the Classified Information Procedures Act

(“CIPA”), the trial date was moved to April 24, 2023 (ECF 476.) A schedule for pretrial

submissions was set on November 15, 2022.

               On January 3, 2023, three- and one-half months before the trial, the parties made

a joint request to adjourn the April 24 trial because of the volume of discovery produced since

June 2022 and the on-going CIPA procedures (ECF 501). The government sought to move the

trial to June 2023 and the defendant sought to move it to July or August 2023. (Id.) At a

January 10, 2023 conference, after hearing from the parties, the Court adjourned the trial to

September 18, 2023 and set a schedule for final pretrial submissions.

               On June 29, 2023, after hearing from the parties, including difficulties with the

CIPA process, the Court adjourned the trial to February 5, 2024.

               For the first time, twenty-six days before the trial, defense counsel seeks an

adjournment for two unspecified medical conditions that were known to him at the time he first

appeared in the case. Defense counsel does not explain the basis for his confidence that he




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could try the case 30 to 45 days later. 1 Defendant’s complaints about his lawyer and his inability

to finance adequately his legal team given the freeze of his assets does not provide a basis for

granting his eve-of-trial request for appointed counsel and an adjournment.

                 If defense counsel needs adjustments to the daily trial schedule to accommodate

medical needs, the Court will take that up on a case by case basis.

                 Application (ECF 658.) is DENIED.




                 SO ORDERED.




Dated: New York, New York
       January 11, 2024




1
 Of course, no 30-45 day adjournment would be possible given the Court’s trial schedule and the likely schedules of
other trial participants.

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